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           IN THE UNITED STATES DISTRICT COURT FOR THE
                EASTERN DISTRICT OF PENNSYLVANIA

WILMINGTON TRUST, NATIONAL        :
ASSOCIATION, AS TRUSTEE,          :
                                  :
          Plaintiff,              :
                                  : CIVIL ACTION
     v.                           :
                                  : NO. 2:20-cv-05309
SHREE SAI SIDDHI QUAKERTOWN,      :
LLC,                              :
                                  :
          Defendant.              :
                                  :

WILMINGTON TRUST, NATIONAL        :
ASSOCIATION, AS TRUSTEE,          :
                                  :
          Plaintiff,              :
                                  : CIVIL ACTION
     v.                           :
                                  : NO. 2:20-cv-05312
SHREE SAI SIDDHI KING OF          :
PRUSSIA, LLC,                     :
                                  :
          Defendant.              :
                                  :


WILMINGTON TRUST, NATIONAL        :
ASSOCIATION, AS TRUSTEE,          :
                                  :
          Plaintiff,              :
                                  : CIVIL ACTION
     v.                           :
                                  : NO. 2:20-cv-05318
SHREE SAI SIDDHI WYOMISSING,      :
LLC,                              :
                                  :
          Defendant.              :
                                  :
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                        JOINT REPORT OF RULE 26(f) MEETING

               In accordance with the Court’s Order dated March 25, 2021, and Rule 26(f) of the

Federal Rules of Civil Procedure, counsel for the parties conferred on March 29, 2021, and

respectfully submit the following report of their meeting for the Court’s consideration:

               1.     Rule 26(a) disclosures shall be completed by April 20, 2021.

               2.     The parties shall complete fact discovery (including interrogatories,

production of documents and depositions of fact witnesses) by August 30, 2021.

               3.     Expert reports, if any, shall be served on or before August 30, 2021.

               4.     Rebuttal expert reports, if any, shall be served on or before September 20,

2021.

               5.     All dispositive motions shall be filed on or before October 20, 2021.

               6.     Discovery shall include the factual basis for plaintiff’s claims, defendant’s

affirmative defenses and counterclaims and the communications between the parties.

               7.     The parties do not anticipate any issue regarding the disclosure of

electronically stored information.

               8.     The parties do not anticipate any issue regarding privilege or work product

protection that would require a departure from the normal processes permitted by the Federal Rules

of Civil Procedure.

               9.     The parties do not anticipate the need for any changes in discovery available

under the Federal Rules of Civil Procedure and the Local Rules.

               10.    The parties have agreed to submit a mutually acceptable stipulated order

that provides for the production and protection of confidential documents and allows the parties to

claw back inadvertently produced documents.


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               11.       The parties submit that, insofar as the three related, captioned actions

involve different loans and lenders but raise common issues of fact and law, it would be efficient

for the Court to issue an Order consolidating the actions for pretrial purposes under the caption for

Case No. 2:20-cv-05309.

               12.       Defendants request a settlement conference before Magistrate Judge Carol

Sandra Moore Wells to be scheduled at the Court’s earliest convenience after the parties make

their initial disclosures pursuant to Rule 26(a) on April 20, 2021.

               13.       If the settlement conference is not successful, Defendants request mediation

in accordance with Local Rule 53.3.




 /s/ Raymond A. Quaglia                               /s/ Francis M. Correll, Jr.
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